  Case 1:19-cv-00407-JJM-PAS Document 12 Filed 03/31/20 Page 1 of 1 PageID #: 74

                             UNITED STATES DISTRICT COURT
                               DISTRICT OF RHODE ISLAND

TEAMSTERS LOCAL251HEALTH
SERVICES AND INSURANCE PLAN,
by and through its BOARD OF TRUSTEES and
TAMMY BEAUDREAULT, in her official
Capacity as Fund Administrator,
             Plaintiff,

       v.                                                          C.A. No. 19-407 JJM-PAS

ABF FREIGHT SYSTEM, INC,
          Defendant.


                                    VOLUNTARY DISMISSAL

       NOW COME Plaintiffs pursuant to Fed. R. Civ. P. 41(a) and voluntarily dismiss the above­

captioned matter, with prejudice.




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                                        CERTIFICATION

        I hereby certify that I electronically filed the within document on March 31, 2020. The
documents are available for viewing and downloading fi:om the Court's Electronic Case Filing
system.


                                                    Isl Elizabeth Wiens
